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                               UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF COLUMBIA




UNITED STATES OF AMERICA                        CASE NO. 1:21:CR:392-RCL


                                                ORDER TO ALLOW TRAVEL
vs

RUSSELL TAYLOR
DEFENDANT




                                 ORDER TO ALLOW TRAVEL



ORDERED, that the motion is GRANTED, and that Mr. Taylor be allowed to travel as follows:

      "From December 26, 2021 to January 3, 2022 Mr. Taylor is permitted to travel to,
      from, and within the State of Utah. Mr. Taylor is also authorized to travel from
      California, through the State of Nevada, to the State of Utah during this time
      period."




IT IS SO ORDERED,
             "'2- 1
December,-        -
                  -   , 2021

                                                ROYCE C. LAMBERTH

                                                UNITED STATES DISTRICT WDGE
